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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF IOWA
                            CENTRAL DIVISION


 NOAH PETERSEN,
                     Plaintiff,               Civil Action No.: 4:23-cv-00408-SMR-SBJ


 v.
                                                   MOTION FOR ENTRY OF
                                              STIPULATED PROTECTIVE ORDER
 CITY OF NEWTON, IOWA, et al.,
                     Defendants.




      Under Rule 26(c), Plaintiff Noah Petersen, with the consent of Defendants,

moves the Court to enter the attached Proposed Stipulated Protective Order. The

Stipulated Protective Order will cover Plaintiff’s medical records received in response

to a Patient’s Waiver signed by Plaintiff on September 20, 2024, which becomes

effective on the date of the entry of the Stipulated Protective Order. Plaintiff

anticipates providing an additional Patient’s Waiver to Defendants, which will also

be governed by the Stipulated Protective Order.

                                     BACKGROUND

      Plaintiff filed constitutional claims against Defendants. Plaintiff’s alleged

damages include, among other things, damages for emotional distress. In response,

Defendants asked Plaintiff to provide a “Patient’s Waiver” so they could obtain

Plaintiff’s mental health records.




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      Plaintiff objected to the relevance and discoverability of those records.

See Auer v. City of Minot, 178 F. Supp. 3d 835, 844–45 (D.N.D. 2016) (relying on

Santelli v. Electromotive, 188 F.R.D. 306 (N.D.Ill.1999)) (explaining that mental

health records are not discoverable when a civil rights plaintiff “(1) limits his or her

claim to recovery of damages for hurt feelings, humiliation, anger, and

embarrassment; (2) does not offer evidence of treatment or of any resulting physical

manifestation; and (3) relies only upon his or her own testimony to support the

claim.”). The parties discussed this objection with the Court on September 11, 2024.

      Later that same day, the parties met-and-confer on the phone to discuss the

request for medical records and Plaintiff’s objections. The parties then worked

together in good faith to resolve the discovery dispute, which included several

emails and at least two more phone conversations. While reserving his objections to

relevance and admissibility of his mental health records, Plaintiff agreed to provide

an executed Patient’s Waiver for his mental health records provided the parties first

entered into a Stipulated Protective Order. On September 22, 2024, Defendants

agreed to the finalized Stipulated Protective Order that is attached to this motion.

                                      ANALYSIS

      Under Rule 26(c), the Court can, “for good cause,” enter a protective order

that controls the means and manner of discovery, including limiting the “scope of

disclosure” of confidential information. Henne v. Great River Reg. Library, No. 19-

cv-2758, 2021 WL 6804560, at *4 (D. Minn. Jan. 4, 2021) (quoting Fed. R. Civ. P.

26(c) and collecting cases). And where, as here, “parties enter freely into a



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stipulated protective order, they are implicitly agreeing that there is good cause to

grant [a protective order].” Blount v. Major, No. 4:15-cv-322, 2016 WL 2937333, at

*1 (E.D. Mo. May 20, 2016). Plus, there is independent good cause here: Mental

health records contain quintessential confidential information that deserves

protection under Rule 26(c). See Auer, 178 F. Supp. 3d at 840–45.

      As a result, the Court should enter the Proposed Stipulated Protective Order

so Defendants can obtain the requested mental health records with Plaintiff’s

executed Patient’s Waiver.



Date: September 23, 2024.                     Respectfully submitted,

                                              /s/ Brian A. Morris
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                          CERTIFICATE OF SERVICE

      I hereby certify that, on September 23, 2024, I electronically filed the foregoing

document with the Clerk of Court using the CM/ECF system, which will send a

notification of such filing to all registered participants identified on the Notice of

Electronic Filing.

                                               /s/ Brian A. Morris
                                               Brian A. Morris




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